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Approved: T\ wt / hh a

NEGAR (} TERKEERI f SAMSON ENZER
eee TEN United States Attorneys

Before: HONORABLE JAMES L. COTT
United States Magistrate Judge
Southern District of Mew é4

  

SEALED COMPLAINT
UNITED STATES OF AMERICA
Violations of

- Veo : 15 U.S.C. §§ 787 (b), 78ff;
: 17 CVF.R. $8 240,10b-5; 18
SOHRAB SHARMA, : U.S.C. §§ 371, 1343, 1349
a/k/a “Sam Sharma,” and : and 2
Robert Farkas, :
a/k/a “Bob,” : COUNTY OF OFFENSES:
New York
Defendants. :
x

SOUTHERN DISTRICT OF NEW YORK, ss.:

BRANDON RACZA, being duly sworn, deposes and says that he is
a Special Agent with the Federal Bureau of Investigation (“FBI”)
and charges as follows:

COUNT_ONE
(Conspiracy To Commit Securities Fraud)

1, From at least in or about July 2017, up to and
including the date of this Complaint, in the Southern District
of New York and elsewhere, SOHRAB SHARMA, a/k/a “Sam Sharma,”
and ROBERT FARKAS, a/k/a “Bob,” the defendants, and others known
and unknown, wilifuily and knowingly did combine, conspire,
confederate, and agree together and with each other to commit
offenses against the United States, to wit, securities fraud, in
violation of Title 15, United States Code, Sections 7847 (b} and
78££, and Title 17, Code of Federal Regulations, Section
240.10b-5.

2. Tt was a part and object of the conspiracy that SOHRAB
SHARMA, a/k/a “Sam Sharma,” and ROBERT FARKAS, a/k/a “Bob,” the
defendants, and others known and unknown, wilifully and

 
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knowingly, directly and indirectly, by use of the means and
instrumentalities of interstate commerce and of the mails, and
of the facilities of national securities exchanges, would and
did use and employ manipulative and deceptive devices and
contrivances in connection with the purchase and sale of
securities, in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by (a) employing devices,
schemes, and artifices to defraud; (b) making untrue statements
of material fact and omitting to state material facts necessary
in order to make the statements made, in the light of the
circumstances under which they were made, not misleading; and
(c) engaging in acts, practices, and courses of business which
operated and would operate as a fraud and deceit upon persons,
in violation of Title 15, United States Code, Sections 78] (b)
and 78ff£, to wit, the defendants and others known and unknown
participated in a scheme to defraud purchasers of Centra Tech,
Ine. (“Centra Tech”) cryptocurrencies by making material
misrepresentations about Centra Tech, its purported partnerships
with Bancorp, Visa and Mastercard, its products, its licensing
in various states, and its executive personnel, causing
investors to purchase more than $25 million worth of Centra Tech
eryptocurrencies, which function as unregistered securities,
during the time period of Centra Tech’s initial coin offering.

Overt Acts

3. In furtherance of the conspiracy and to effect its
illegal object, SOHRAB SHARMA, a/k/a “Sam Sharma,” and ROBERT
FARKAS, a/k/a “Bob,” the defendants, and others known and
unknown, commmitted the following overt acts, among others, in
the Southern District of New York and elsewhere:

a. On or about August 14, 2017, SHARMA, in an
interview by a cryptocurrency podcast, made material
misrepresentations about an initial coin offering for the
digital assets and cryptocurrency company Centra Tech, for which
he was a founder, President, and Chief Technology officer at
various times.

b. On or about September 6, 2017, FARKAS, a chief
marketing officer for Centra Tech, sent an email to an
individual at a marketing company describing Centra Tech's
currency conversion capabilities as “allow[ing] real time
conversion of all supported cyrptocurrencies to give the user
the ability to spend their assets in real time anywhere in the
world that accepts Visa or Mastercard.”

 
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c. On or about November 28, 2017, FARKAS attended a
blockchain technology conference in New York City, New York, on
behalf of Centra Tech, a sponsor of the conference, for the
purpose of promoting Centra Tech and its products.

(Title 18, United States Code, Section 371.)

COUNT TWO
{Securities Fraud)

4. From at least in or about July 2017, up to and
including the date of this Complaint, in the Southern District
of New York and elsewhere, SOHRAB SHARMA, a/k/a “Sam Sharma,”
and ROBERT FARKAS, a/k/a “Bob,” the defendants, and others known
and unknown, willfully and knowingly, directly and indirectly,
by use of the means and instrumentalities of interstate commerce
and of the mails, and of the facilities of national securities
exchanges, used and employed manipulative and deceptive devices
and contrivances in connection with the purchase and sale of
securities in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by (a) employing devices,
schemes, and artifices to defraud; (b) making untrue statements
of material fact and omitting to state material facts necessary
in order to make the statements made, in the Light of the
circumstances under which they were made, not misleading; and
{c) engaging in acts, practices, and courses of business which
operated and would operate as a fraud and deceit upon persons,
to wit, the defendants and others known and unknown participated
in a scheme to defraud purchasers of Centra Tech
cryptocurrencies by making material misrepresentations about
Centra Tech, its purported partnerships with Bancorp, Visa and
Mastercard, its products, its licensing in various states, and
its executive personnel, causing investors to purchase more than
$25 million worth of Centra Tech cryptocurrencies, which
function as unregistered securities, during the time period of
Centra Tech's initial coin offering.

(Title 15, United States Code, Sections 78) (b) & 78ff;
Title 17, Code of Federal Regulations, Sections 240.10b-5; and
Title 18, United States Code, Section 2.)

COUNT THREE
(Conspiracy To Commit Wire Fraud)

5. From at least in or about July 2017, up to and
including the date of this Complaint, in the Southern District
of New York and elsewhere, SOHRAB SHARMA, a/k/a “Sam Sharma,”

 

 

 
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and ROBERT FARKAS, a/k/a “Bob,” the defendants, and others known
and unknown, willfully and knowingly combined, conspired,
confederated, and agreed together and with each other to commit
offenses against the United States, to wit, wire fraud, in
violation of Title 18, United States Code, Section 1343.

6, It was a part and an object of the conspiracy that
SOHRAB SHARMA, a/k/a “Sam Sharma,” and ROBERT FARKAS, a/k/a
“Bob,” the defendants, willfully and knowingly, having devised
and intending to devise a scheme and artifice to defraud, and
for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, would and
did transmit and cause to be transmitted by means of wire,
radio, and television communication in interstate and foreign
commerce, writings, signs, signals, pictures, and sounds for the
purpose of executing such scheme and artifice, in violation of
Title 18, United States Code, Section 1343, to wit, the
defendants and others known and unknown participated in a scheme
to defraud purchasers of Centra Tech cryptocurrencies by making
material misrepresentations about Centra Tech, its purported
partnerships with Bancorp, Visa and Mastercard, its products,
its licensing in various states, and its executive personnel.

(Title 18, United States Code, Section 1349.)

COUNT_FOUR
(Wire Fraud)

VT. From at least in or about July 2017, up to and
including the date of this Complaint, in the Southern District
of New York and elsewhere, SOHRAB SHARMA, a/k/a “Sam Sharma,”
and ROBERT FARKAS, a/k/a “Bob,” the defendants, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud and for obtaining money and property by
means of false and fraudulent pretenses, representations, and
promises, and attempting to do so, did transmit and cause to be
transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, the defendants and
others known and unknown participated in a scheme to defraud
purchasers of Centra Tech cryptocurrencies by making material
misrepresentations about Centra Tech, its purported partnerships
with Bancorp, Visa and Mastercard, its products, its licensing
in various states, and its executive personnel, and in the
course of executing such scheme, caused interstate and
international wires to be sent, including emails between New

 

 
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York, New York and Florida and a location outside of the United
States.

(Title 18, United States Code, Section 1343 and 2.)

The bases for my knowledge and for the foregoing
charges are, in part, as follows:

8. I have been a Special Agent with the FBI for
approximately two and a half years. I am currently assigned to a
squad that investigates white collar crimes, including complex
financial frauds and conduct within the regulatory jurisdiction
of the U.S. Securities and Exchange Commission (“SEC”). I have
participated in investigations of such offenses, and have made
and participated in arrests of individuals who have committed
such offenses.

9. The information contained in this Complaint is based
upon my personal knowledge, as well as information obtained
during this investigation, directly or indirectly, from other
sources, including, but not limited to: (a) business records and
other documents, such as trading records, bank records,
telephone records, and records of electronic communications,
including text messages; (b) publicly available documents; (c)
conversations with, and reports of interviews with, non-law-
enforcement witnesses; (d) conversations with, and reports
prepared by, other agents; and (e) conversations with
representatives from the U.S. Securities and Exchange Commission
(“SEC”). Because this Complaint is being submitted for the
limited purpose of establishing probable cause, it does not
include all the facts that I have learned during the course of
my investigation. Where the contents of documents and the
actions and statements of and conversations with others are
reported herein, they are reported in substance and in part.
Where figures, calculations, and dates are set forth herein,
they are approximate, unless stated otherwise.

The Defendants and Relevant Entities

 

10. Based on my review of publicly available information
and records provided by Centra Tech to representatives of the
SEC, I have learned the following, in substance and in part:

a. Centra Tech is a Delaware corporation based in
Miami Beach, Florida. Centra Tech advertises itself through its
website, https://centra.tech (the “Centra Tech Website”), press
releases, and statements on the Internet as a company that

 

 
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offers various methods to store and spend digital assets such as
cryptocurrencies. For example, the Centra Tech Website
currently advertises that Centra Tech “offers blockchain
products such as a Wallet to store digital assets, a Prepaid
Card to spend the digital assets, and three soon to be released
products and services, which include a Marketplace to buy goods
with the digital assets, a cryptocurrency Exchange Platform to
buy, sell and trade digital assets, and a open-source hyper
speed DPoS Blockchain.”

b. The following individuals, among others, are or
have been employed at Centra Tech:

i. SOHRAB SHARMA, a/k/a “Sam Sharma,” the
defendant, was a founder of Centra Tech, its President, and its
Chief Technology Officer. On October 31, 2017, Centra Tech
announced that SHARMA was “stepping aside to support the
continued growth of the company,” and announced a “reconstituted
executive management team” that did not include SHARMA.

Ai, ROBERT FARKAS, a/k/a “Bob,” has held various
positions at Centra Tech, including as its chief marketing
officer and chief operating officer.

c. The Bancorp, Inc. (“Bancorp”) is a Delaware-based
financial services company with offices throughout the United
States. Bancorp provides a variety of financial services to
companies and individuals, including issuing debit and prepaid
cards, and payments processing, which it does by virtue of
contractual partnerships with other financial services companies
such as Visa and Mastercard, among others.

d. Visa Inc. (“Visa”) is a U.S.-based multinational
financial services corporation headquartered in Foster City,
California. Visa facilitates electronic funds transfers
throughout the world, most commonly through “Visa’-branded
credit cards and debit cards.

e. Mastercard Incorporated (“Mastercard”) is a U.S.-
based multinational financial services corporation headquartered
in Purchase, New York. Mastercard’s principal business is to
process payments between the banks of merchants and the card
issuing banks or credit unions of the purchasers who use the
“Mastercard” brand debit and credit cards to make purchases.

 

 
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Relevant Regulatory Background and Definitions

11. An “initial coin offering” (“ICO”) is a type of
fundraising event in which an entity offers participants a
unique digital “coin” or “token” in exchange for consideration.
The consideration often comes in the form of “virtual currency”
or “ceryptocurrency,” but can also be “fiat currency,” which is
currency, like the U.S. dollar and the Euro, that a government
has declared to be legal tender, but is not backed by a physical
commodity. “Virtual currency” or “cryptocurrency” is a digital
representation of value that can be digitally traded and
functions as (1) a medium of exchange, (2) a unit of account,
and/or (3) a store of value, but does not have legal tender
status. Unlike fiat currency, like the U.S. dollar and the
Euro, virtual currency is not issued by any jurisdiction and
functions only by agreement within the community of users of
that particular currency. Examples of virtual currency are
Bitcoin and Ether.?!

12. The tokens or coins issued in an ICO are issued and
distributed on a “blockchain” or cryptographically-secured
ledger. Tokens often are also listed and traded on online
platforms, typically called virtual currency exchanges, and they
usually trade for other digital assets or fiat currencies.
Often, tokens are Listed and tradeable immediately after they
are issued,

13. 1ICOs are typically announced and promoted through the
Tnternet and e-mail. Issuers usually release a “whitepaper” or
“white paper” describing the project and the terms of the ICO,
In order to participate in the ICO, investors are generally
required to transfer funds to the issuer. After the completion
of the ICO, the issuer will distribute its unique “coin” or
“token” to the participants. The tokens may entitle the holders
to certain rights related to a venture underlying the ICO, such
as rights to profits, shares of assets, rights to use certain
services provided by the issuer, and/or voting rights. These
tokens may also be listed on online platforms, often called
virtual currency exchanges, and be tradable for virtual
currencies.

 

1 Based on my training, experience, and participation in this

investigation, I have learned that “Ether” is a cryptocurrency
whose blockchain is generated by the Ethereum platform, and the
term “Ether” is sometimes used interchangeably with “Ethereum.”

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14. Under Section 2(a}(1) of the Securities Act of 1933, a
security includes “an investment contract.” 15 U.S.C. § 77b.
An “investment contract” is a contract, transaction or scheme
“whereby a person invests his money in a common enterprise and
is led to expect profits solely from the efforts of the promoter
or a third party.” S.E.C. v. W.J. Howey Co., 328 U.S. 293, 298-
99 (1946). “The test is whether the scheme involves an
investment of money in a common enterprise with profits to come
solely from the efforts of others.” Id. at 301. Importantly,
the economic realities of the transaction or product and not its
name determine whether the instrument is a security. United
Hous. Found, Inc. v. Forman, 421 U.S. 837, 851 (1975). Pursuant
to Sections 5{a) and 5(c} of the Securities Act, a company or
individual conducting an offer or sale of securities to the
public must file a registration statement with the SEC. 15
U.S.C. § Vie(a) and {c}.

Overview of the Scheme to Defraud

15. From at least July 2017 up to and including the day of
this Complaint, SOHRAB SHARMA, a/k/a “Sam Sharma,” and ROBERT
FARKAS, a/k/a “Bob,” the defendants, and others known and
unknown, participated in a scheme to defraud purchasers of
Centra Tech cryptocurrencies by making material
misrepresentations about Centra Tech, its purported partnerships
with Bancorp, Visa, and Mastercard, its products, its licensing
in various states, and its executive personnel. Through these
misrepresentations, SHARMA and FARKAS caused investors to
purchase more than $25 million worth of Centra Tech
ecryptocurrencies, which function as unregistered securities,
during the time period of Centra Tech's initial coin offering.

The Centra Tech ICO

 

16. As set forth in greater detail below, based on my
participation in this investigation and my review of reports and
records prepared by others, from in or about July 2017 through
in or about October 2017, Centra Tech raised capital, by
offering unregistered securities via an ICO, to operate what
Centra Tech advertised would be the world’s first multi-
blockchain debit card (the “Centra Tech ICO”). In sum, Centra
Tech accepted digital currency from investors in exchange for
Centra Tokens that Centra Tech stated could be “exchange[d]

on the Cryptocurrency exchanges for a profit” and would
“aliow[] users to join [Centra Tech's] success and mission while
generating a profit.” (emphasis added). In doing so, Centra
Tech made multiple false statements, including on the Centra
Tech Website and in materials posted to the Centra Tech Website,

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regarding, among other things, (a) the “Centra Card” or the
“Centra Debit Card,” a debit card that was falsely advertised as
one that would allow users to make purchases using any
blockchain currency of choice and would work at any location
that accepted Visa or Mastercard, (b) Centra Tech’s partnerships
with Bancorp, Visa, and Mastercard, which did not exist, (c}
individual state licenses held by Centra Tech, at least some of
which did not exist, and {(d) the identity of one of Centra
Tech’s executives, who does not appear to exist.

17. Based on my review of publicly available information
and records provided by Centra Tech to representatives of the
SEC, among other sources, I have learned the following, in
substance and in part:

a. On or about July 23, 2017, Centra Tech issued a
press release that it paid to be published on the website
“cointelegraph.com” (the “July 23 Press Release”). In the July

23 Press Release, Centra Tech described the Centra Tech ICO as
“truly a ground floor opportunity to be part of a global
solution to the blockchain currency dilemma that offers a
comprehensive rewards program for both token and card holders
while giving the ability to spend your cryptocurrency in real
time with no fees.” The July 23 Press Release also touted
Centra Tech’s products: (1) the “Centra Debit Card” which
purported to “enable[] users to make purchases using their
blockchain currency of choice, ” and “work[] anywhere that
accepts Visa or MasterCard,” (2) the “Centra Wallet App,” which
“makes it easy for people to register for the Centra Debit Card,
store their cryptocurrency assets, as well as control its
functions,” and (3) “cBay,” the “world’s first Amazon type of
marketplace created especially for cryptocurrency acceptance.”
The July 23 Press Release also advertised Centra Tech’s
“Currency Conversion Engine” as allowing users “the ability to
spend their assets anywhere in the world that accepts Visa
and/or MasterCard.”

b, On or about July 25, 2017, Centra Tech issued a
press release that it paid to be published on the website
Bitcoin.com (the “July 25 Press Release”). In the July 25 Press

Release, Centra Tech described the Centra Tech ICO as “truly a
ground floor opportunity to be part of a global solution to the
blockchain currency dilemma that offers a comprehensive rewards
program for both token and card holders while giving the ability
to spend your cryptocurrency in real time with no fees.” The
July 25 Press Release also touted Centra Tech’s products: (1)
the “Centra Debit Card” which purported to “enable[] users to

 

 
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make purchases using their blockchain currency of choice,” and
“work[] anywhere that accepts Visa or MasterCard,” (2) the
“Centra Wallet App,” which “makes it easy for people to register
for the Centra Debit Card, store their cryptocurrency assets, as
well as control its functions,” and (3) “cBay,” the “world’s
first Amazon type of marketplace created especially for
ecryptocurrency acceptance.” The July 25 Press Release aiso
advertised Centra Tech’s “Currency Conversion Engine,” as
allowing users “the ability to spend their assets anywhere in
the world that accepts Visa and/or MasterCard.”

Cc. Centra Tech also posted several different
versions of a white paper advertising the Centra Tech ICO on the
Centra Tech Website. A version of the ICO White Paper that was
downloaded from the Centra Tech Website on or about August 3,

2017 and labeled “FINAL DRAFT” (“White Paper-1") contained
several statements describing the ICO and the Centra Card using
terminology indicative of a securities offering. For example:

i. White Paper-1 described the Centra Tech ICO as a
token offering for which 400 Centra Tokens, or “CTR”s, would be
sold for 1 ETH. Based on my training, experience, and
participation in this investigation, I have learned that “ETH”
is the currency code for Ether, a cryptocurrency whose
blockchain is generated by the Ethereum platform.

ii. Centra Tech stated that it would be offering “68%
of all [Centra] Tokens to be created for purchase in our crowd
sale to the public” and would “allocate 20% of all [Centra]
Tokens created to distribution of bug bounty, business
development, community projects, market expansion, and more”
while “[t]he remaining 12% will be distributed to Centra Techs
founders, early investors, and employees as an incentive to
create a long lasting mutual interest and dedication to the
tokens and their prolonged value.”

iii. In providing details about the Centra Card and
the Centra Tech ICO, White Paper-l referenced different levels
of investment opportunity:

1. The “Centra Black Card founders edition” was
to be issued to “our first 500 ICO backers whom purchase with

100+ ETH” and would carry with it an “enhanced rewards program.”

2. The “Centra Gold Card limited edition” would
be “allocated to our first 1000 contributors whom purchase CTR

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Tokens with 304+ ETH,” and would also carry an “enhanced rewards
program.”

3. The “Centra Blue & Virtual Card” would be
the “signature and traditional card.”

iv. White Paper-l advertised multiple “rewards”
programs for Centra Token holders. For example, White Paper-1
advertised that Centra Token holders would receive a “.8% ETH”
reward for every transaction in the “network” (the “Network
Rewards Program”). This was in contrast to another rewards
program advertised in White Paper-1, which offered “Card rewards
of up to 2% of your purchases made on the Centra card.” Based
on my review of White Paper-i, and representations made by
SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant, as described
in paragraph 30.e., below, explaining that “through our revenue
share we actually give .8 percent of that away to token holders
as part of our program to join the Centra Tokens,” I believe the
Network Rewards Program functions like a dividend in that it is
offering a share - .8% ETH - of Centra Tech’s revenue.

v. Although it claimed that holders of the Centra
Token “by no means own any securities or interest in Centra
Tech,” and that the Centra Tokens “are not securities nor
shares,” White Paper-1 promised that Centra Token purchasers
would “be able to place their wallet to use on Centra Debit
card, or exchange them [the Centra Tokens] on the Cryptocurrency
exchanges for a profit.” White Paper-1 also claimed that the
Centra Card and Centra Wallet were “already Live in beta,” and
that Centra Tech was “offering our initial crowd sale of tokens
to appropriately fund the vision of Centra Tech’s future.” [It
further claimed that Centa Tech's “initial coin offering allows
users to join our success and mission while generating a
profit.” (emphasis added).

vi. White Paper-1 also contained several
misrepresentations, as described further in paragraphs 34
through 43, below, about Centra Tech's relationships with
financial services institutions. For example:

1. In describing the Centra Card, White Paper-1l

stated: “For our United States clients the Centra Card will be
a Visa card while for international users the Centra card issued
will be a MasterCard. . . . The Centra Card allows all supported

cryptocurrencies to become spendable in real time based on the
government fiat being used at the time the card is used at a
participating location that accepts Visa or MasterCard.”

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2, White Paper-1 contained muitiple images of
Centra Cards with the “Visa” logo.

3. White Paper-1l also stated that one benefit
and advantage of the Centra Card was “Access to 36+ Miilion
Points of Sale where Visa and/or Master-Card is accepted in 200+
countries.”

4. A product comparison table in White Paper-1
reported that the issuers of the Centra Card were “MasterCard
and Visa.”

5. White Paper-1 contained a timeline of Centra
Tech's “milestone items,” including a “Major Banking Partnership
signed and license agreement with VISA USA Inc formulated” in
January 2017, and a “Beta Launch of Centra Black Card and Centra
Wallet App Live” in March 2017.

6. White Paper-1l also used the logos of
Bancorp, Visa and Mastercard when describing Centra Tech's
partners.

vii. White Paper-1 stated that “Centra Tech holds
individual licenses in 38 states namely Alabama, Arizona,
Alaska, Arkansas, Connecticut, Delaware, District of Columbia,
Florida, Georgia, Idaho, Iowa, Kansas, Kentucky, Louisiana,
Maine, Maryland, Mississippi, Nevada, Nebraska, New Hampshire,
New Jersey, New York, North Carolina, North Dakota, Ohio,
Oklahoma, Pennsylvania, Oregon, Rhode Island, South Dakota,
Tennessee, Texas, Vermont, Virginia, Washington, and West
Virginia.” It further stated that the licenses “are held under
categories of Money Transmitter, Sales of Checks, Electronic
Money Transfers, and Seller of Payment Instruments.”

villi. White Paper-1 advertised the “Centra Tech Team”
as comprising, among other individuals, SHARMA as the “CTO & Co-
Founder’; FARKAS as the “CMO”; and “Michael Edwards” as the “CEO
& Co-Founder.”

SHARMA’s Representations in Connection with the
Centra Tech ICO

18. On or about August 14, 2017, SOHRAB SHARMA, a/k/a “Sam

Sharma,” the defendant, was interviewed by Neocash Radio, a
cryptocurrency podcast, about the Centra Tech ICO. Based on my

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review of a recording of the interview, I have learned that
SHARMA stated, among other things, the following:?

a. “[T}]nternationally, we currently have our license
with Mastercard, to service international clients.
Domesticaliy, we do have the Visa partnership, so we are able to
issue Visa cards domestically and Mastercards internationally.”

b. “Right now we are currently in our live Beta
stage, which we have members of our internal organization as
well as some external that have gotten our Centra Black Founder
cards recently. We’re going through . . . pretty much a phase
two of testing right now where we are just going through daily
transactions, testing volume, etc., and we've gotten really good
results so far on it.”

Cc. SHARMA also stated that Centra Tech had “pretty
much a successful test rate in terms of errors, in terms of
proof processes and the whole flow of the card attaching to the
app,” when discussing the Centra Wallet. .

d. SHARMA identified “Mike Edwards” as a “VP and co-
founder” who was an early investor in Centra Tech.

e. In describing the rewards system for purchasers
in the ICO, SHARMA stated: “The rewards percentage that we get
from Visa and Mastercard through our revenue share we actually
give .8 percent of that away to token holders as part of our
program to join the Centra tokens.”

£. “[R]ight now is a great time to join our system,
we have a token sale that is going on, it finishes on October
5th . . . we're currently a littie bit north of $10 million

raised in our first eight days of our crowd sale so I definitely
want to thank ali of my contributors and anyone who is listening
for joining that as well.”

g. SHARMA stated that there was currently a 20%
token bonus on top of the current token sale that “can be
redeemed via email.”

 

2 The summaries and transcript of the recorded interview set
forth herein is based on a preliminary draft transcription and
remains subject to revision.

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h. “We have a couple of large deals we’re working on
right now with a few companies so we should be over by I would
say early September.”

i. SHARMA directed listeners to the Centra Tech
website, www.centra.tech, to find out more about the Centra Tech
TcO: “You can go to our website, www.centra.tech, and you can

click the token sale page as weil as our white paper is on there
and you can just get an insight of everything from A to 4.”

7. SHARMA stated that while Centra Tech was licensed
in 38 states, “the states that we are operating in currently for
licensing purposes is just so the ability to withdraw and
transmit your Bitcoins. As far as actually utilizing the card
itself to the wallet and spending the cryptocurrencies, that’s
available in all states.”

k. SHARMA also stated that he was able to work
through the U.S. licensing issues with a contact he knew at
Metropolitan Commercial Bank. SHARMA stated that “our system is
connected to the bank and we're connected to the clients.”

Additional Representations by FARKAS

19. Based on my review of records provided by Centra Tech
to the SEC, and which were provided to me in connection with
this investigation, I have learned, in substance and in part,
the following:

a. On or about August 30, 2017, SOHRAB SHARMA, a/k/a
“Sam Sharma,” the defendant, sent an email to an individual not
at Centra Tech, and copied ROBERT FARKAS, a/k/a “Bob,” the
defendant, to the email. In that email, SHARMA conveyed a
message that SHARMA had received from Bancorp stating the
following:

Mr. Sharma: I left a voicemail on your phone,
but I am following up here as well. CENTRA
TECH IS HEREBY DIRECTED TO CEASE AND DESIST
FROM REPRESENTING THAT THE BANCORP BANK HAS
ANY CONNECTION WITH, OR IS THE ISSUER OF ANY
CARD PRODUCTS RELATED TO CENTRA TECH. YOU ARE
ALSO DIRECTED TO CEASE AND DESIST USING OUR
LOGO OR OTHER IMAGES IN CONNECTION WITH THE
MARKETING OF ANY CARD PRODUCTS OR WALLETS YOU
OFFER. Please REMOVE any and all references
to The Bancorp Bank or The Bancorp Inc. from

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any and all websites, marketing materials or
other communications, including blogs as this
has not been authorized by The Bancorp. i
expect you will be hearing from federal
banking regulators as well.

dD. On or about September 6, 2017, FARKAS exchanged
emails with an individual at a company that provides a search
engine allowing users to look up, confirm, and validate
transactions that have taken place on the Ethereum blockchain
(“Company-1"%). In the emails, FARKAS inquired about how to
obtain advertising space on Company-1’s website, and stated, in
substance and in part, the following:

I know there are some past issues but we are now
complete on our Pre-ICO raised over 10M in ETH and
have been verified by all of our staff on Token Market

We have ad space everywhere else except here. Please
let me know if you need any identifying documents or
anything to proceed with our ad space.

FARKAS also provided the advertising text that he wanted
Company-1 to post” “Centra Card © & Centra Wallet ® Now
available Worldwide!” FARKAS signed the email “Robert Farkas
CMO.” After receiving a response from Company-1 that it was
“not able to cater to [Centra Tech’s] advertising needs at this
point [in] time,” FARKAS forwarded the emails to
“ssharma491@gmail.com,” an email address used by SHARMA. 3

Cc. In or about early September 2017, FARKAS, using
the email address “support@centra.tech,” and at times signing
his name “Bob,” or “Robert Farkas CMO Centra,” exchanged a
series of emails with an individual at a marketing company
seeking to write promotional materials and/or articles about
Centra Tech (“Individual-1"}. On or about September 6, 2017,
FARKAS described Centra Tech as follows:

The biggest problem in the crypto world is
being able to spend your cryptocurrency

 

3 Based on records provided to the FBI by Googie, I have learned
that SHARMA is listed as the subscriber for the email address
“ssharma491@gmail.com.” In addition, based on my review of
records produced by Centra Tech to the SEC, I have learned that
SHARMA uses the email address “ssharma491@gmail.com,”

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effortlessly. The Centra Card and Centra
Wallet app are the solution. Our Currency
Conversion Engine Module (CCE Module) allows
real time conversion of all supported
cyrptocurrencies to give the user the ability
to spend their assets in real time anywhere in
the world that accepts Visa or Mastercard.

Thanks,
Bob

On or about September 13, 2017, Individual-1 appears to have
provided FARKAS with a draft of written materiais related to
Centra Tech and, later that same day, FARKAS responded with
edits, including the following:

Title: Can we change it too: This company
has brought cryptocurrency into the real
world

reason being is that our card is live and
working and has been shipped to clients

already ©

Thanks,

Bob

20. From approximately in or about September 2017 through

in or about December 2017, FARKAS received and responded to
multiple emails either directly or through the
“support@centra.tech” email account from individuals interested
in participating in the Centra Tech ICO, interested in

purchasing Centra Tokens, or otherwise seeking information about
Centra Tech.

21. Based on my review of records provided by Centra Tech
to the SEC, I have learned, in substance and in part, that, in
or about October 2017, FARKAS registered Centra Tech as a
sponsor of “Consensus: Invest 2017,” a blockchain technology
summit or conference that took place on or about November 28,
2017 in New York City, New York. I have reviewed a video posted
to Centra Tech’s YouTube channel on or about January 5, 2018
entitled “Centra Consensus NYC Cryptocurrency Blockckain Expo
Invest.” The video depicts what appears to be people and
activities at the “Consensus” Invest 2017,” including a Centra

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Tech booth or table at the conference, and shows FARKAS engaging
in conversations with various people during the conference.
Based on the foregoing, I believe that FARKAS was in New York
City, New York, on or about November 28, 2017, and engaged in
promotional and marketing activities for Centra Tech at the
“Consensus: Invest 2017” conference.

The Fraudulent Partnerships with Bancorp, Visa, and Mastercard

22. Based on my conversations with a representative of
Bancorp (“Witness-1”) and my review of documents provided by
Bancorp, I have learned, in substance and in part, the
following:

a. In approximately August 2017, Witness-1 learned
from Bancorp’s marketing group that a potential investor or
purchaser of Centra Tech tokens had inquired as to whether
Bancorp had a business relationship with Centra Tech, as was
represented by Centra Tech in its marketing materials at the
time.

b. In investigating the inquiry in approximately
August 2017, Witness-l reviewed the Centra Tech Website and a
white paper posted on the Centra Tech Website. Witness~-1
discovered that Bancorp’s issuer statement, a statement
regarding who the card issuer is any time a Visa or Mastercard
image is displayed, was being used on the Centra Tech Website.
Witness-1 knew by looking at the Centra Tech Website and white
paper that Bancorp would not ever work with a company such as
Centra Tech by virtue of the risk level of the product Centra
Tech was offering.

Cc. Witness-l reviewed Bancorp internal databases, to
include Bancorp’s list of entities with which it had card
issuance relationships and entities involved in Bancorp’s co-
branded incentive card program, to see whether Bancorp had any
sort of relationship with Centra Tech. Through this process,
Witness-1 confirmed that Bancorp did not have any relationships
with Centra Tech.

d. Witness-1 took screenshots of the Centra Tech
Website, including a page that misrepresented Bancorp’s issuer

statement.

e. One screenshot that Witness-1 retained stated,
among other things:

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The Centra Card Visa Debit Card is issued by
The Bancorp Bank, member FDIC, pursuant to a
license from Visa U.S.A. Inc. “The
Bankcorp”? and “The Bancorp Bank” are
registered trademarks of The Bankcorp Bank ©
2014. Use of the Card is subject to the
terms and conditions of the applicable
Cardholder Agreement and fee schedule, if
any.

The Centra Card Mastercard® Debit Card is
issued by The Bancorp Bank, member FDIC,
pursuant to a license from Mastercard
International Incorporated. “The Bankcorp”
and “The Bancorp Bank” are registered
trademarks of The Bankcorp Bank © 2014. Use
of the Card is subject to the terms and
conditions of the applicable Cardholder
Agreement and fee schedule, if any.

£. As described above, Witness-1 reviewed a white
paper that was posted to the Centra Tech Website in August 2017.
Witness-1 recalled that the white paper contained multiple
misrepresentations, including about Centra Tech’s purported
relationship with Bancorp.

qg. In approximately August 2017, Witness-1 attempted
to reach individuals at Centra Tech through, among other
methods, the “Contact Us” portion of the Centra Tech Website to
request that Centra Tech remove the Bancorp logo and the false
statements regarding Centra Tech’s purported relationship with
Bancorp. Witness-1 did not receive a response from Centra Tech.

h. Based on my conversations with another
representative of Bancorp (“Witness~2”) and my review of
documents provided by Bancorp, I have learned, in substance and
in part, that, on or about August 30, 2017, Bancorp sent a cease
and desist notice to Centra Tech to which Centra Tech did not
respond.

23. Based on my conversations with a representative of
Visa (“Witness-3”%) and my review of documents provided by Visa,
I have learned, in substance and in part, the foilowing:

 

4 This excerpt from the Centra Tech Website has not been altered
to correct spelling or other errors. In this excerpt, “Bancorp”
is also spelled “Bankcorp.”

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a. On or about October 10, 2017, Visa became aware
that Centra Tech was using the Visa name and logo on marketing
materials in connection with the Centra Card and the Centra Tech
TCO.

b. Visa employees researched whether Visa had any
relationship, direct or indirect, with Centra Tech. Visa
determined that it had no relationship with Centra Tech.

Cc. Visa employees took screenshots of portions of
the Centra Tech Website using and showing the Visa name and
trademark, including of purported Centra Cards with the Visa
logo.

d. On or about October 10, 2017, Visa’s Legal
Department sent an email to Centra Tech, at support@centra.tech,
attaching a cease and desist letter (the “October 10 Letter”).
In the October 10 Letter, Visa stated, in part:

It has come to our attention that Centra
Tech (“Centra”) is using the Visa-Owned
Marks on its site https://www.centra.tech as
well as on its various social media sites
(e.g., Facebook, Twitter, Instagram,
YouTube) and other mediums. It appears
Centra is purporting to be an authorized
distributor of VISA payment cards utilizing
cryptocurrency technology. . . . However, to
the best of our knowledge and good faith
belief, Centra is not authorized to use the
Visa-Owned Marks in this manner, nor is it
authorized to issue, sell, or otherwise
distribute VISA payment cards. If this is
not the case, please advise and explain
immediately, i.e., if Centra is working with
an authorized Visa Issuing bank.

Visa attached to the October 10 Letter multiple screenshots from
the Centra Tech Website in which Centra Tech had misappropriated
the Visa trademark.

e. In the October 10 Letter, Visa requested that
Centra Tech cease and desist from using Visa's trademarks and
“promoting that it is an authorized distributor of VISA payment
cards,” and for Centra Tech to remove all references to Visa
from the Centra Tech Website and any promotional materials.

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Visa also requested that Centra Tech “identify the bank or
financial institution it is working with (if any) to issue a
purported VISA payment card product.”

f. In response to the October 10 Letter, SOHRAB
SHARMA, a/k/a “Sam Sharma,” the defendant, provided Visa with an
acknowledgment that he had received the October 10 Letter, but
did not identify any financial institutions with which Centra
Tech was working to issue a Visa payment card product.

24. Based on my review of records provided by Centra Tech
to the SEC, and which were provided to me in connection with
this investigation, I have learned, in substance and in part,
the following:

a. On or about October 10, 2017, SOHRAB SHARMA,
a/k/a “Sam Sharma,” the defendant, using the email address
“sam@centra.tech,” emailed a response to Visa’s October 10
Letter, stating:

This matter has been brought to my
attention. I will have this matter rectified
in 48 hours. We are currently in the process
of finalizing our Co-branded Prepaid Card
Program, but might not meet the Nov Ist lock
out deadlines for submission from our
issuing bank whom is an authorized visa
issuer for card design approval, So can see
where this issue might of came from.

However, I have immediately contacted my web
developers to remove all issues and TI will
have this document [a cease and desist
acknowledgment] signed and returned within
48 hours.

Thank you,
Sam Sharma

b. On or about October 11, 2017, Visa responded to
SHARMA’s email, and requested that he “advise of the Visa
issuing bank you are working with.”

c. On or about October 12, 2017, SHARMA responded again
via email using the “sam@centra.tech” email account and stated:
“As far as the issuing bank we have an MNDA in place currently.
VISA will soon get our information for Card Design approval and

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program specs from our future issuing bank in the US.” SHARMA
signed the email, “Thank you, Sam.” Based on my training and
experience, I believe SHARMA was claiming that he had a Mutual
Non-Disclosure Agreement with the purported issuing bank in this
email and that he therefore could not disclose its identity.

d. On or about October 14, 2017, Visa responded to
SHARMA’s email, noting that Centra Tech was still using the Visa
trademark and Visa name in its promotional materials, including
in videos in which SHARMA appeared, and reiterated its demand
that Centra Tech stop using the Visa name. Visa also repeated
its request that SHARMA identify the bank that Centra Tech was
“allegedly working with.”

e. Based on my conversations with Witness-3, I have
learned that, in response to Visa’s multiple requests for Centra
Tech to identify the Visa card issuing bank with which it
purported to have a relationship, neither SHARMA nor anyone at
Centra Tech identified such an issuing bank.

25. Based on my conversations with a representative of
MasterCard (“Witness-4”"), I have learned, in substance and in
part, that MasterCard’s internal records of licensing agreements
and relationships with card-issuing banks and other third
parties contains no record of any relationship, either direct or
indirect, with Centra Tech.

26. Based on my review of the current version of the
Centra Tech Website and a white paper published via the Centra
Tech Website, as of March 26, 2018, I have learned that Centra
Tech is not currently using the Bancorp, Visa or MasterCard
names or logos.

27. As described in paragraph 17?.c.vii., above, White
Paper-l represented that Centra Tech held licenses “under
categories of Money Transmitter, Sales of Checks, Electronic
Money Transfers, and Seller of Payment Instruments,” in 38
listed states (the “State Licensing List”). Based on my review,
on or about March 12, 2018, of a database maintained by the
Nationwide Multistate Licensing System, a financial services
industry online registration and licensing database, and my
review of certain state licensing databases, I have learned, in
substance and in part, that the following states on the State
Licensing List have no current record for Centra Tech based on
available public searches: Arizona, Connecticut, Delaware,
Florida, New Jersey, New York or South Dakota.

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“Michael Edwards”

28. As described in paragraph 17.c.viii, above, White
Paper-1l listed “Michael Edwards” as Centra Tech’s “CEO & Co-
Founder.” White Paper-1 also included a picture of “Michael
Edwards.” Based on open source searches of this image, I have
learned that the picture of “Michael Edwards” in White Paper-1
is actually a picture associated with an individual by a
different name who is a Canadian physiclogy professor.

29, Based on my review of records provided by the SEC, I
have learned, in substance and in part, that, on or about August
3, 2017, a user profile page appeared on LinkedIn, a business-—
and employment~oriented social networking service that operates
via websites and mobile apps, for “Michael Edwards.” The
LinkedIn page stated that “Michael Edwards” had “launched Centra
Tech with the mission to design the world’s first multi-
blockchain asset debit card” and had managed various aspects of
Centra Tech's Centra Card and Centra Wallet programs, including
“Te]stablished licensing and partnership terms with Visa &
MasterCard.” The LinkedIn page also stated that “Michael
Edwards” was affiliated with Harvard University.

30. Based on my review of currentiy-available content on
the Linkedin website, I have learned that the “Michael Edwards”
LinkedIn page no longer exists.

31. Based on Internet searches for a “Michael Edwards” who
is or was a co-founder or CEO of Centra Tech, I have learned

that there is limited information about such an individual. For

example, I have found no interviews of “Michael Edwards” in
connection with Centra Tech or the Centra Tech ICO, and the name
“Michael Edwards” no longer appears on the Centra Tech Website
or Centra Tech online promotional materials. Based on the
information described above, and based on my training,
experience, and participation in this investigation, I believe
that a “Michael Edwards” who was at some point “CEO & Co-
Founder” of Centra Tech may not exist.

The Centra Tech ICO Investors

32. Based on my training, experience, and participation in
this investigation, I have learned that companies like Centra
Tech that offer cryptocurrency are required to keep a record of
identification information~-including names and addresses—of
individuals purchasing their cryptocurrency. Based on my review

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of records provided by Centra Tech to the SEC, I have learned,
in substance and in part, the following:

a. Centra Tech provided a spreadsheet labeled
“Centra Token Sale Details” to the SEC. The spreadsheet
contains several tabs, including tabs labeled “CentraToken, ”
“CentraSale,” and “Centra Token Owner.”

b. The CentraToken tab contains information
regarding more than 1800 purchases of Centra Tokens from between
on or about July 30 to August 26, 2017. Two of the listed
investors reside in New York City, New York, within the Southern
District of New York.

Cc. The CentraSale tab contains information regarding
more than 1700 purchases of Centra Tokens from between on or
about September 19 to September 26, 2017. Three of the listed
investors reside in New York City, New York, within the Southern
District of New York.

Extradition Research, Document Destruction,
and International Travel

 

 

33. Based on my discussions with representatives of the
SEC, I have learned, in substance and in part, that in or about
the fourth quarter of 2017 the SKC issued an initial subpoena to
Centra Tech for documents and other information, and that SOHRAB
SHARMA, a/k/a “Sam Sharma,” and ROBERT FARKAS, a/k/a “Bob,” the
defendants, are thus aware of the SEC’s investigation.

34. Based on my conversations with an attorney who is
employed by a financial regulatory authority (“Witness-5”), I
have learned, in substance and in part, the following:

a. Witness-5 knows an attorney who was until
recently employed by Centra Tech (“Employee~1”).

b. Witness-5 had several telephone conversations and
electronic communications with Employee-1 on or about March 29
and 30, 2018.

c. During these communications, Employee-1 told
Witness-5 the following, in substance and in part:

i. Employee-1 learned earlier this week that

the SEC has been investigating whether Centra Tech has engaged
in fraudulent activity.

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aid. ROBERT FARKAS, a/k/a “Bob,” the defendant,
recently asked Employee-1 via email to conduct research
regarding foreign extradition laws.

iii. After Fmployee-1 performed this extradition
research and reported the results to FARKAS, FARKAS approached
Employee-l in person and stated, in substance and in part, that
he had deleted his email asking Employee-1 to perform this
extradition research. Based on FARKAS’ demeanor during this
interaction and the way in which he made that statement about
deleting his email, Employee-1] understood FARKAS to be
suggesting that Employee-1 should also delete the copy of that
email that Employee-1 had received from FARKAS regarding the
extradition research.

d, Employee-1l has not seen an individual Employee-1
described to Witness-5 as the “owner” of Centra Tech in over a
week —- which I believe, based on my training and experience and

participation in the investigation of this case, to be a
reference to SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant.

e. Employee-1 also learned this week that Centra
Tech’s bank account has been depleted.

f. Employee-1 conveyed that Centra Tech has
terminated virtually all of its employees except certain top
executives such as SHARMA and FARKAS.

26. Based on my review of records provided by Delta
Airlines, I have learned that on or about March 27, 2018, ROBERT
FARKAS, a/k/a “Bob,” the defendant, booked Delta Airlines
flights for himself and a co-traveler whose name I recognize to
be the name of an employee at Centra Tech (“Employee-2”") to fly
from Fort Lauderdale, Florida to Incheon, South Korea via a
Delta Airlines flight leaving Fort Lauderdale-Hollywood
International Airport in Florida on or about April i, 2018 at
approximately 8:00PM, with a stopover at Hartfield-Jackson
Atlanta International Airport in Georgia to catch a connecting
Delta Airlines flight that will arrive at Incheon International
Airport in South Korea on or about April 2, 2018. According to
these records, FARKAS and Employee-2 have also booked return
flights that would have them leave from Incheon International
Airport in South Korea on or about April 5, 2018 and arrive at
Fort Lauderdale-Hollywood International Airport in Florida on or
about April 5, 2018.

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WHEREFORE, I respectfully request that arrest warrants be
issued for SOHRAB SHARMA, a/k/a “Sam Sharma,” and ROBERT FARKAS,
a/k/a “Bob,” the defendants, and that they be arrested and

imprisoned or bailed, as the case may be.
Aa

BRANDON RACZ //
Special Agent
Federal Bureau of Investigation

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Sworn to before me this
31st day of March 2018

   
  
 

HONORABLE JAMES L. COTT |
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT ‘OF NEW YORK

 

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